        SEP.Case  2:09-cr-00130-PGS
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                                                    FEDERAL PUBLIC DEFENDER
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                                                                        September 22, 2009

            via facsimile (609) 989-0515
            Honorable Peter G. Sheridan, U.S.D.J.
            Clarkson S. Fisher Federal Building & U.S. Courthouse
            402 East State Street
            Trenton, New Jersey 08608

                                                 Re:        United States v, Dalnave Navigation. Inc
                                                            Kaim Karia Deposition

            Dear Judge Sheridan:
                                                            C-(3 (Ps)

                    As Your Honor may recall, expedited depositions were taken in this case of the merchant
            seaman witnesses. Mr. Karia, my client, was the last Indonesian seaman deposed by the government.
            The depositions were taken on an expedited basis to facilitate the return of the seamen to their homes
            as quickly as possible, pursuant to court order. When the government indicated that it might recall
            Mr. Karia, Your Honor directed the parties to work during the weekend so that Mr. Karia could
            return home without delay.

                    It had always been my understanding that our office would not be billed for the transcripts of
            Mr. Karia’s deposition. Indeed, Free State Reporting, the court reporters for the depositions,
            confirmed during the course of depositions that our office would not be billed. This result makes
            sense, as Mr. Karia was deposed pursuant to a grand jury subpoena.

                   Nonethe!ess Free State Reporting continues to seek payment from my office for the copy of
           Mr. Karia’s transcripts. After I received the second bill in August, I contacted the Court. At the Ms.
           Hicks’ instruction, I submitted a letter to the Court requesting that the Court pay for the transcript.
           Last week, Ms. Hicks requested that I send a follow-up request to the Court.

                    I am requesting that the Court pay for the transcript. In order for our office to pay for
           transcripts, advance authorization and billing paperwork is required. Because I understood that our
           office was not to pay for these transcripts, no authorization was sought or received Therefore, I
           respectfully request that the Court pay for this transcript. I am enclosing fr the Court’s reference a
           copy of the bills.

                   Thank you for your assistance with this matter



                                                         Yry truly yours,

                                                           David A. Holman




                                     800440 Cooper Stmai, Ste, 350, candcn, New Jersey 08102 (856) 757-5341

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